                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE

UNITED STATES OF AMERICA )
                         )
v.                       )                  NO. 2:02-CR-22
                         )                  Civ. No. 2:12-cv-346
ANGELO HINSON            )



                                    JUDGMENT ORDER

        For the reasons stated in the Memorandum Opinion and Order filed in this case, the

Defendant’s Motion for Reconsideration [Doc. 196] is DENIED AS MOOT, the Motion filed

through counsel [Doc. 198] for the appointment of counsel is GRANTED, and the Defendant’s

Motion to Vacate under 28 U.S.C. § 2255 [Doc. 204] is GRANTED IN PART and otherwise

DENIED AS MOOT.            Defendant’s term of supervised release is reduced to five (5) years

beginning upon the termination of his period of confinement with the Bureau of Prisons. Except

as provided above, all provisions of the judgment dated March 2, 2004 [Doc. 129], shall remain

in effect.

        The Clerk is DIRECTED to close the civil file.

        SO ORDERED.

                                            s/Leon Jordan
                                            UNITED STATES DISTRICT JUDGE


ENTERED AS A JUDGMENT
    s/ Debra C. Poplin
   CLERK OF COURT




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